                                                                 UNITED STATES BANKRUPTCY COURT
                                                                        DISTRICT OF OREGON
 In re                                                                  )   Case No.   20-31020                      (If Known)
 Mark F. Haueter                                                        )
                                                                        )   CHAPTER 7 INDIVIDUAL DEBTOR'S*
                                                                        )   STATEMENT OF INTENTION(S)
 Debtor(s)                                                              )   PER 11 U.S.C. §521(a)

IMPORTANT NOTICES TO DEBTOR(S):
1.Complete, sign and file this form even if you have no debts secured by property of the estate or personal property subject to unexpired leases. If
creditors are listed, make sure the certificate of service is completed.
2. Failure to perform the intentions as to property stated below within 30 days after the first date set for the Meeting of Creditors
under 11 USC §341(a) may result in relief for the creditor from the Automatic Stay protecting such property.

PART A - Debts secured by property of the estate. (Part A must be fully completed for each debt which is secured by property of the estate. Attach
additional pages is necessary.)


   IF NONE - Check this box.
 Property No. 1
 Creditor's Name:                                                                      Describe Property Securing Debt:
 Diversified Financial                                                                 Zimmatic Pivot 640' 3-Tower, Pumps
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) Sell property, retain exempt proceeds.

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 2
 Creditor's Name:                                                                      Describe Property Securing Debt:
 Malheur Federal Credit Union                                                          2018 Polaris 850 Sportsman N/A miles
 Property will be (check one):            SURRENDERED                RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                 NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.




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 Property No. 3
 Creditor's Name:                                                                           Describe Property Securing Debt:
 Producers Livestock Marketing Assoc.                                                       325 Grove Rd. Ontario, OR 97914 Malheur County
                                                                                            78 Acres farmland, residential home, barns
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) avoid lien using 11 U.S.C. § 522(f)

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 4
 Creditor's Name:                                                                           Describe Property Securing Debt:
 Zions Bancorporation, NA                                                                   325 Grove Rd. Ontario, OR 97914 Malheur County
                                                                                            78 Acres farmland, residential home, barns
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f) Sell property, retain exempt proceeds.

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

   IF NONE - Check this box.
 Property No. 5
 Creditor's Name:                                                                           Describe Property Securing Debt:
 Zions Bank                                                                                 Cattle, Crops, Irrigation Equipment
 Property will be (check one):            SURRENDERED                   RETAINED

 If retaining the property, I intend to (check at least one):
      Redeem the property
      Reaffirm the debt
      Other. Explain (for example, avoid lien using 11 USC §522(f)

 Property is (check one):            CLAIMED AS EXEMPT                     NOT CLAIMED AS EXEMPT

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease. Attach additional
pages if necessary.)

   IF NONE - Check this box.
 Property No. 1
 Lessor's Name:                                                      Describe Leased Property:                    Lease will be assumed pursuant to 11 USC
                                                                                                                  §365(p)(2)
                                                                                                                                YES         NO
            Continuation sheets attached (if any).




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 I DECLARE UNDER PENALTY OF PERJURY THAT THE ABOVE                      I/WE, THE UNDERSIGNED, CERTIFY THAT COPIES OF BOTH THIS
 INDICATES INTENTION AS TO ANY PROPERTY OF MY ESTATE                    DOCUMENT AND LOCAL FORM #715 WERE SERVED ON ANY
 SECURING A DEBT AND/OR PERSONAL PROPERTY SUBJECT TO                    CREDITOR NAMED ABOVE.
 AN UNEXPIRED LEASE.
 DATE: August 5, 2020                                                   DATE: August 5, 2020

 /s/ Mark F. Haueter                                                    /s/ Nicholas J. Henderson OR:                    OR: 074027 OR
 DEBTOR'S SIGNATURE                                                     DEBTOR OR ATTORNEY'S SIGNATURE                  OSB# (if attorney)


 JOINT DEBTOR'S SIGNATURE (If applicable)                               JOINT DEBTOR'S SIGNATURE (If applicable and no attorney)
                                                                        Nicholas J. Henderson OR: 074027           (503) 417-0500
                                                                        PRINT OR TYPE SIGNER'S NAME & PHONE NO.
                                                                        117 SW Taylor St., Suite 300
                                                                        Portland, OR 97204
                                                                        SIGNER'S ADDRESS (if attorney)


    NON-JUDICIAL REMEDY WHEN CONSUMER DEBTOR FAILS TO TIMELY PERFORM STATED INTENTIONS
Creditors, see Local Form #715 [attached if this document was served on paper] if you wish information on how to obtain non-judicial
relief from the automatic stay of 11 U.S.C. §362(a) as to your collateral.
                                                        QUESTIONS????
Call an attorney with questions about these procedures or the law. However, only call the debtor's attorney if you have
questions about the debtor's intent as to your collateral.




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 Fill in this information to identify your case:

 Debtor 1                   Mark F. Haueter
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF OREGON

 Case number           20-31020
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             715,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             414,818.22

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,129,818.22

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $          1,621,299.57

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             708,084.37


                                                                                                                                     Your total liabilities $             2,329,383.94


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                2,605.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,725.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Mark F. Haueter                                                            Case number (if known) 20-31020

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information               page 2 of 2
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 Fill in this information to identify your case and this filing:

 Debtor 1                    Mark F. Haueter
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF OREGON

 Case number            20-31020                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        325 Grove Rd.                                                                  Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Ontario                           OR        97914-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $715,000.00                $715,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Fee simple
        Malheur                                                                        Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                78 Acres farmland, residential home, barns


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $715,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Dodge                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Durango                                         Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                 144000                 Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 4940 Kimball Rd.,
         Ontario OR 97914                                            Check if this is community property                        $14,000.00                  $14,000.00
                                                                     (see instructions)



  3.2    Make:       Dodge                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Aspen                                           Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:                                                       Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                235,000                 Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Location: Spouse's Address
                                                                     Check if this is community property                          $4,500.00                   $4,500.00
                                                                     (see instructions)



  3.3    Make:       Dodge                                     Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      Ram                                             Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                 144505                 Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        $18,000.00                  $18,000.00
                                                                     (see instructions)



  3.4    Make:       Stock Trailer                             Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      CWF                                             Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       1995                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                      N/A               Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Vehicle:
                                                                     Check if this is community property                          $5,000.00                   $5,000.00
                                                                     (see instructions)



  3.5    Make:       Polaris                                   Who has an interest in the property? Check one            Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
         Model:      850 Sportsman                                   Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
         Year:       2018                                            Debtor 2 only                                       Current value of the      Current value of the
         Approximate mileage:                      N/A               Debtor 1 and Debtor 2 only                          entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                          $6,500.00                   $6,500.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                    page 2
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  3.6    Make:       Chevy                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Cruze                                           Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2012                                            Debtor 2 only                                            Current value of the        Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?            portion you own?
         Other information:                                          At least one of the debtors and another
         Location: 4940 Kimball Rd.,
         Ontario OR 97914                                            Check if this is community property                                        $0.00                      $0.00
         Purchased by Son; Titled in                                 (see instructions)

         Debtor and Son's name; Debtor
         holds legal title only.


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                   $48,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                      Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Furniture and household goods                                                                                                     $2,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    TVs, electronics, computer                                                                                                        $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
        Yes. Describe.....

                                    Fine China                                                                                                                        $1,000.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Console Piano                                                                                                                     $2,000.00



Official Form 106A/B                                                       Schedule A/B: Property                                                                           page 3
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10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                            30-06 Rifle                                                                                                                     $400.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Clothes and Shoes                                                                                                             $1,500.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                               $7,900.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.                                               Checking Account: Zions Bank                                                  $0.00



                                              17.2.                                               Checking Account: U.S Bank                                              $1,000.00

                                                                                                  Wells Fargo Bank
                                                                                                  Debtor in Possession Account
                                                                                                  Funds in account consist of Zions Bank cash
                                                                                                  collateral from cattle sales, and pension
                                              17.3.                                               funds.                                                                $19,918.22


Official Form 106A/B                                                                       Schedule A/B: Property                                                               page 4
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                                                                            US Bank: Account ~4709
                                                                            Account Held in Debtor's Name and Parents'
                                                                            Names (Ladora Haueter and Calvin Haueter)
                                      17.4.    Checking                     Funds in Account Belong to Debtors' Parents                                    $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                        % of ownership:

                                         MC Haueter Insurance Agency, Inc.
                                         Administratively dissolved February 14, 2019                           100         %                              $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                      Pension                               Retirement: Country Insurance                                        $192,500.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                                                            Feedlot Lease - Rod Zehr                                                 $5,600.00
                                                                            Paid through July to August 2020


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

Official Form 106A/B                                                 Schedule A/B: Property                                                                page 5
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27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                  Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $219,018.22


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.




Official Form 106A/B                                                           Schedule A/B: Property                                                                                 page 6
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                                                    Case 20-31020-dwh7                              Doc 102               Filed 08/05/20
 Debtor 1        Mark F. Haueter                                                                    Case number (if known)   20-31020

 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.

           Yes. Go to line 47.
                                                                                                                               Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured
                                                                                                                               claims or exemptions.

47. Farm animals
     Examples: Livestock, poultry, farm-raised fish
      No
        Yes................


                                   Cattle: 42 Pairs
                                   2 Herd Bulls
                                   Location: 325 Grove Rd., Ontario, OR                                                                    $53,000.00


                                   Approx. 50 Head Mixed Cattle (Heifers and Steers)
                                   Located at Feedlot: 552 Eastway, Ontario, OR                                                              Unknown


                                   Horse
                                   Location: 325 Grove Rd., Ontario, OR                                                                        $500.00


                                   53 Head Mixed Cattle (Heifers & Steers)
                                   Sold and transported to Oppliger Feeders, NE                                                              Unknown


48. Crops—either growing or harvested
        No
        Yes. Give specific information.....


49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
      No
        Yes................


                                   Tractors, Feed Truck, Plow                                                                              $61,000.00


                                   Zimmatic Pivot 640' 3-Tower, Pumps                                                                      $25,000.00


50. Farm and fishing supplies, chemicals, and feed
      No
        Yes................

                                   Vet Supplies                                                                                                $400.00


51. Any farm- and commercial fishing-related property you did not already list
        No
        Yes. Give specific information.....




Official Form 106A/B                                                 Schedule A/B: Property                                                        page 7
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                                                Case 20-31020-dwh7                 Doc 102    Filed 08/05/20
 Debtor 1         Mark F. Haueter                                                                                                       Case number (if known)   20-31020

 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .....................................................................................................................               $139,900.00


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $715,000.00
 56. Part 2: Total vehicles, line 5                                                                          $48,000.00
 57. Part 3: Total personal and household items, line 15                                                      $7,900.00
 58. Part 4: Total financial assets, line 36                                                                $219,018.22
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                              $139,900.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $414,818.22               Copy personal property total             $414,818.22

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,129,818.22




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 8
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                                                      Case 20-31020-dwh7                                 Doc 102                Filed 08/05/20
 Fill in this information to identify your case:

 Debtor 1                 Mark F. Haueter
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           20-31020
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      325 Grove Rd. Ontario, OR 97914                                $715,000.00                               $40,000.00      ORS §§ 18.395, 18.402
      Malheur County
      78 Acres farmland, residential home,                                                 100% of fair market value, up to
      barns                                                                                any applicable statutory limit
      Line from Schedule A/B: 1.1

      Furniture and household goods                                    $2,000.00                                 $2,000.00     ORS § 18.345(1)(f)
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      TVs, electronics, computer                                       $1,000.00                                 $1,000.00     ORS § 18.345(1)(f)
      Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Fine China                                                       $1,000.00                                   $800.00     ORS § 18.345(1)(p)
      Line from Schedule A/B: 8.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Console Piano                                                    $2,000.00                                 $1,200.00     ORS § 18.345(1)(a)
      Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit



Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
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                                                Case 20-31020-dwh7                     Doc 102          Filed 08/05/20
 Debtor 1    Mark F. Haueter                                                                             Case number (if known)     20-31020
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     30-06 Rifle                                                         $400.00                                   $400.00        ORS § 18.362
     Line from Schedule A/B: 10.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothes and Shoes                                                 $1,500.00                                 $1,500.00        ORS § 18.345(1)(b)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Wells Fargo Bank                                                 $19,918.22                                 $1,169.56        ORS § 18.348
     Debtor in Possession Account
     Funds in account consist of Zions                                                     100% of fair market value, up to
     Bank cash collateral from cattle                                                      any applicable statutory limit
     sales, and pension funds.
     Line from Schedule A/B: 17.3

     Pension: Retirement: Country                                    $192,500.00                                                  ORS § 18.358
     Insurance
     Line from Schedule A/B: 21.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
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                                                Case 20-31020-dwh7                     Doc 102          Filed 08/05/20
 Fill in this information to identify your case:

 Debtor 1                   Mark F. Haueter
                            First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           20-31020
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Diversified Financial                     Describe the property that secures the claim:                $35,567.35               $25,000.00           $10,567.35
         Creditor's Name                           Zimmatic Pivot 640' 3-Tower, Pumps

         14010 First National Bank
                                                   As of the date you file, the claim is: Check all that
         Pkwy, Ste 400                             apply.
         Omaha, NE 68154-5206                          Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)

       Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                Other (including a right to offset)
       community debt

 Date debt was incurred                                     Last 4 digits of account number        2001




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4
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                                                  Case 20-31020-dwh7                         Doc 102        Filed 08/05/20
 Debtor 1 Mark F. Haueter                                                                                     Case number (if known)   20-31020
               First Name                  Middle Name                      Last Name


         Malheur Federal Credit
 2.2                                                                                                                   $5,732.22          $6,500.00             $0.00
         Union                                      Describe the property that secures the claim:
         Creditor's Name                            2018 Polaris 850 Sportsman N/A
                                                    miles
                                                    As of the date you file, the claim is: Check all that
         PO Box 520                                 apply.
         Ontario, OR 97914                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          04/10/2018                  Last 4 digits of account number         4247

         Producers Livestock
 2.3                                                                                                                $260,000.00         $715,000.00             $0.00
         Marketing Assoc.                           Describe the property that secures the claim:
         Creditor's Name                            325 Grove Rd. Ontario, OR 97914
                                                    Malheur County
                                                    78 Acres farmland, residential
         P.O. Box 540477                            home, barns
                                                    As of the date you file, the claim is: Check all that
         North Salt Lake, UT                        apply.
         84054                                           Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

                                 1/24/2018 to
 Date debt was incurred          2019                        Last 4 digits of account number




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 4
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                                                  Case 20-31020-dwh7                           Doc 102            Filed 08/05/20
 Debtor 1 Mark F. Haueter                                                                                     Case number (if known)        20-31020
               First Name                  Middle Name                      Last Name


         Zions Bancorporation,
 2.4                                                                                                                $450,000.00                $715,000.00                  $0.00
         NA                                         Describe the property that secures the claim:
         Creditor's Name                            325 Grove Rd. Ontario, OR 97914
                                                    Malheur County
         c/o Scott J. McLean,                       78 Acres farmland, residential
         President                                  home, barns
                                                    As of the date you file, the claim is: Check all that
         1 S Main Street                            apply.
         Salt Lake City, UT 84133                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          05/14/2019                  Last 4 digits of account number         5597

 2.5     Zions Bank                                 Describe the property that secures the claim:                   $870,000.00                $147,995.00         $722,005.00
         Creditor's Name                            Cattle, Crops, Irrigation Equipment

                                                    As of the date you file, the claim is: Check all that
         909 NW 16th Street                         apply.
         Fruitland, ID 83619                             Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          04/10/2010                  Last 4 digits of account number         9006


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $1,621,299.57
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $1,621,299.57

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.3
          Sheila R. Schwager
          Hawley Troxell Ennis & Hawley LLP                                                           Last 4 digits of account number
          877 Main Street, Suite 1000
          PO Box 1617
          Boise, ID 83701-1617




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 3 of 4
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                                                  Case 20-31020-dwh7                           Doc 102            Filed 08/05/20
 Debtor 1 Mark F. Haueter                                                                 Case number (if known)          20-31020
              First Name                Middle Name                  Last Name



        Name, Number, Street, City, State & Zip Code                                On which line in Part 1 did you enter the creditor?   2.4
        Zions Bank
        909 NW 16th St                                                              Last 4 digits of account number
        Fruitland, ID 83619




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 4 of 4
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                                                Case 20-31020-dwh7               Doc 102       Filed 08/05/20
 Fill in this information to identify your case:

 Debtor 1                   Mark F. Haueter
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number            20-31020
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          Agar Trucking                                           Last 4 digits of account number         1217                                                        $3,458.40
              Nonpriority Creditor's Name
              PO Box 277                                              When was the debt incurred?             7/3/2020
              Fruitland, ID 83619
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.

                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Freight Costs




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 1 of 9
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                                                 Case 20-31020-dwh7                         Doc 102             Filed 08/05/20
 Debtor 1 Mark F. Haueter                                                                                Case number (if known)         20-31020

 4.2      Amex/Bankruptcy                                            Last 4 digits of account number       4064                                             $1,834.00
          Nonpriority Creditor's Name
          Correspondence/Bankruptcy                                                                        Opened 06/06 Last Active
          Po Box 981540                                              When was the debt incurred?           2/12/20
          El Paso, TX 79998
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.3      Bank of America                                            Last 4 digits of account number       4199                                             $9,483.36
          Nonpriority Creditor's Name
          Attn: Bankruptcy NC4-105-02-77                                                                   Opened 01/97 Last Active
          Po Box 26012                                               When was the debt incurred?           1/06/20
          Greensboro, NC 27410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Check Credit Or Line Of Credit


 4.4      Bank of America                                            Last 4 digits of account number       2751                                           $20,102.00
          Nonpriority Creditor's Name
          4909 Savarese Circle                                                                             Opened 06/08 Last Active
          Fl1-908-01-50                                              When was the debt incurred?           2/17/20
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 9
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                                                Case 20-31020-dwh7                        Doc 102            Filed 08/05/20
 Debtor 1 Mark F. Haueter                                                                                Case number (if known)         20-31020

 4.5      Bank of the West                                           Last 4 digits of account number       1526                                           $36,000.00
          Nonpriority Creditor's Name
          c/o Nandita Bakhshi, Pres.                                 When was the debt incurred?
          180 Montgomery Street
          San Francisco, CA 94104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.6      Bank of the West                                           Last 4 digits of account number       5843                                           $41,493.46
          Nonpriority Creditor's Name
          PO Box 4022                                                When was the debt incurred?           04/10/2000
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loan


 4.7      Bank of the West                                           Last 4 digits of account number       6207                                             $2,031.13
          Nonpriority Creditor's Name
          PO Box 4022                                                When was the debt incurred?           8/2000
          Alameda, CA 94501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Line of Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 9
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                                                Case 20-31020-dwh7                        Doc 102            Filed 08/05/20
 Debtor 1 Mark F. Haueter                                                                                Case number (if known)         20-31020

 4.8      Bank of the West                                           Last 4 digits of account number       3597                                             $1,835.31
          Nonpriority Creditor's Name
          c/o Nandita Bakhshi, Pres.                                 When was the debt incurred?           2019
          180 Montgomery Street
          San Francisco, CA 94104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Line


 4.9      Campbell Tractor & Equipment                               Last 4 digits of account number       0582                                             $1,681.93
          Nonpriority Creditor's Name
          2014 N Franklin Blvd.                                      When was the debt incurred?           5/2020
          Nampa, ID 83687
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Tractor Repair Services


 4.1
 0        Capital One                                                Last 4 digits of account number       5804                                             $2,815.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 11/08 Last Active
          Po Box 30285                                               When was the debt incurred?           2/15/20
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 9
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 Debtor 1 Mark F. Haueter                                                                                Case number (if known)         20-31020

 4.1
 1        Chase Card Services                                        Last 4 digits of account number       4860                                             $5,407.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 01/15 Last Active
          Po Box 15298                                               When was the debt incurred?           2/08/20
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 2        Chase Card Services                                        Last 4 digits of account number       9811                                             $2,505.52
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?           2019
          Po Box 15298
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 3        Citibank                                                   Last 4 digits of account number       2141                                           $11,691.00
          Nonpriority Creditor's Name
          Citicorp Credit Srvs/Centralized Bk                                                              Opened 09/06 Last Active
          dept                                                       When was the debt incurred?           2/16/20
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 9
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 Debtor 1 Mark F. Haueter                                                                                Case number (if known)         20-31020

 4.1
 4        Citibank                                                   Last 4 digits of account number       3301                                             $7,510.00
          Nonpriority Creditor's Name
          Citicorp Credit Srvs/Centralized Bk                                                              Opened 05/98 Last Active
          dept                                                       When was the debt incurred?           2/21/20
          Po Box 790034
          St Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 5        Costco Anywhere Visa Card                                  Last 4 digits of account number       5223                                             $2,356.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                                                                 Opened 12/06 Last Active
          Po Box 6500                                                When was the debt incurred?           2/08/20
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 6        Dian Mussi                                                 Last 4 digits of account number       n/a                                           $500,000.00
          Nonpriority Creditor's Name
          5626 John Day Highway                                      When was the debt incurred?           2012-2016
          Brogan, OR 97903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loans




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 6 of 9
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                                                Case 20-31020-dwh7                        Doc 102            Filed 08/05/20
 Debtor 1 Mark F. Haueter                                                                                Case number (if known)         20-31020

 4.1
 7        Macy's American Express                                    Last 4 digits of account number       4064                                             $1,540.26
          Nonpriority Creditor's Name
          P.O. Box 9001108                                           When was the debt incurred?           01/1/2006
          Louisville, KY 40290-1108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.1
 8        Marwyn Peaster                                             Last 4 digits of account number                                                        $5,000.00
          Nonpriority Creditor's Name
          4787 Pioneer Rd.                                           When was the debt incurred?           6/2020 - 7/2020
          Ontario, OR 97914
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Hay/Feed


 4.1      The Mussi Family Trust, U.A.D.
 9        11/25/97                                                   Last 4 digits of account number       n/a                                            $50,000.00
          Nonpriority Creditor's Name
          c/o Primo Mussi and Giovanna                               When was the debt incurred?           2012-2016
          Mussi
          Trustees
          5626 John Day Highway
          Brogan, OR 97903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Loans




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 9
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                                                Case 20-31020-dwh7                        Doc 102            Filed 08/05/20
 Debtor 1 Mark F. Haueter                                                                                Case number (if known)          20-31020

 4.2
 0         Zions Bank                                                Last 4 digits of account number       2973                                                     $1,340.00
           Nonpriority Creditor's Name
                                                                                                           Date Opened: 01/1/2004 Last
           909 NW 16th Street                                        When was the debt incurred?           Used: 02/10/2020
           Fruitland, ID 83619
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

               No                                                       Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                      Other. Specify   Loan


 4.2
 1         Zions Bank                                                Last 4 digits of account number       0983                                                     Unknown
           Nonpriority Creditor's Name
           310 S Main                                                When was the debt incurred?           2009-2015
           Salt Lake City, UT 84119
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

               Debtor 1 only                                            Contingent
               Debtor 2 only                                            Unliquidated
               Debtor 1 and Debtor 2 only                               Disputed
               At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

               No                                                       Debts to pension or profit-sharing plans, and other similar debts

               Yes                                                      Other. Specify   Line Of Credit

 Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jonathan Neil & Assoc., Inc.                                  Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 18321 Ventura Blvd. Ste 1000                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Tarzana, CA 91356
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Jonathan Neil and Associates                                  Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 18321 Ventura Blvd St 1000                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 tarzanz, CA 91356
                                                               Last 4 digits of account number                    7888

 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.    Domestic support obligations                                                 6a.       $                           0.00
 Total
 claims
 from Part 1            6b.    Taxes and certain other debts you owe the government                         6b.       $                           0.00

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 8 of 9
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 Debtor 1 Mark F. Haueter                                                                               Case number (if known)    20-31020
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                     0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $              708,084.37

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $              708,084.37




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 9 of 9
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                                                Case 20-31020-dwh7                       Doc 102            Filed 08/05/20
 Fill in this information to identify your case:

 Debtor 1                  Mark F. Haueter
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               DISTRICT OF OREGON

 Case number           20-31020
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Marwyn Peaster                                                             Residential Lease Agreement
               4787 Pioneer Rd.
               Ontario, OR 97914




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                 Case 20-31020-dwh7                Doc 102          Filed 08/05/20
 Fill in this information to identify your case:

 Debtor 1                   Mark F. Haueter
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF OREGON

 Case number           20-31020
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         MC Haueter Insurance Agency, Inc.                                                    Schedule D, line
                325 Grove Rd.                                                                        Schedule E/F, line     4.5
                Ontario, OR 97914
                                                                                                     Schedule G
                                                                                                   Bank of the West



    3.2         MC Haueter Insurance Agency, Inc.                                                    Schedule D, line
                325 Grove Rd.                                                                        Schedule E/F, line     4.6
                Ontario, OR 97914
                                                                                                     Schedule G
                                                                                                   Bank of the West



    3.3         MC Haueter Insurance Agency, Inc.                                                    Schedule D, line
                325 Grove Rd.                                                                        Schedule E/F, line     4.8
                Ontario, OR 97914
                                                                                                     Schedule G
                                                                                                   Bank of the West




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 1
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                                                   Case 20-31020-dwh7             Doc 102        Filed 08/05/20
Fill in this information to identify your case:

Debtor 1                      Mark F. Haueter

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF OREGON

Case number               20-31020                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            Self-Employed                               Self-Employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Haueter and Sons Livestock                  Blinds by Design

       Occupation may include student        Employer's address
                                                                   325 Grove Rd.                               325 Grove Rd.
       or homemaker, if it applies.
                                                                   Ontario, OR 97914                           Ontario, OR 97914

                                             How long employed there?         6 years                                   15 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $              0.00       $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $           0.00              $      0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1

                                            Case 20-31020-dwh7              Doc 102         Filed 08/05/20
Debtor 1   Mark F. Haueter                                                                       Case number (if known)    20-31020


                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               0.00
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               0.00
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               0.00
     5e.    Insurance                                                                     5e.        $              0.00     $               0.00
     5f.    Domestic support obligations                                                  5f.        $              0.00     $               0.00
     5g.    Union dues                                                                    5g.        $              0.00     $               0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00     $               0.00
     8d. Unemployment compensation                                                        8d.        $              0.00     $               0.00
     8e. Social Security                                                                  8e.        $              0.00     $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                     0.00
     8g. Pension or retirement income                                                     8g. $             1,605.00   $                     0.00
     8h. Other monthly income. Specify: Family Contributions                              8h.+ $            1,000.00 + $                     0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          2,605.00         $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              2,605.00 + $             0.00 = $           2,605.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                     0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $           2,605.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtors are currently listing their property for sale. Once the property is sold, their living expenses
                             will change.




Official Form 106I                                                     Schedule I: Your Income                                                        page 2

                                      Case 20-31020-dwh7                   Doc 102        Filed 08/05/20
Fill in this information to identify your case:

Debtor 1                 Mark F. Haueter                                                                   Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF OREGON                                                         MM / DD / YYYY

Case number           20-31020
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             700.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            50.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1


                                          Case 20-31020-dwh7                       Doc 102        Filed 08/05/20
Debtor 1     Mark F. Haueter                                                                           Case number (if known)      20-31020

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                   0.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 205.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                300.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 50.00
10.   Personal care products and services                                                    10. $                                                  50.00
11.   Medical and dental expenses                                                            11. $                                                  50.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  50.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  790.00
      15c. Vehicle insurance                                                               15c. $                                                  180.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,725.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,725.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               2,605.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,725.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                -120.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtors have recently separated. Debtors are listing their primary residence for sale, and
                          therefore their current living arrangements are temporary. Debtors are both going to rent or purchase
                          new separate residences. The expense figures listed in this budget are estimated, and reflect the
                          Debtors' anticipated living expenses once new living arrangements are finalized.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


                                         Case 20-31020-dwh7                       Doc 102           Filed 08/05/20
 Fill in this information to identify your case:

 Debtor 1                    Mark F. Haueter
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number              20-31020
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Mark F. Haueter                                                       X
              Mark F. Haueter                                                           Signature of Debtor 2
              Signature of Debtor 1

              Date       August 5, 2020                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                                                Case 20-31020-dwh7                 Doc 102        Filed 08/05/20
 Fill in this information to identify your case:

 Debtor 1                  Mark F. Haueter
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF OREGON

 Case number           20-31020
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there
        325 Grove Rd.                                            From-To:                       Same as Debtor 1                                    Same as Debtor 1
        Ontario, OR 97914                                        1997 to 12/2019                                                                 From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                          Unknown            Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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                                                Case 20-31020-dwh7                      Doc 102          Filed 08/05/20
 Debtor 1      Mark F. Haueter                                                                             Case number (if known)   20-31020


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)

 For last calendar year:                             Wages, commissions,                       $499,550.00           Wages, commissions,
 (January 1 to December 31, 2019 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                  Wages, commissions,                       $385,440.00           Wages, commissions,
 (January 1 to December 31, 2018 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income           Gross income
                                                   Describe below.                  each source                    Describe below.             (before deductions
                                                                                    (before deductions and                                     and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Country Insurance                                         $10,889.00
 the date you filed for bankruptcy:

 For last calendar year:                           Country Insurance                            $21,777.00
 (January 1 to December 31, 2019 )


                                                   Federal Tax Refund                               $170.00
                                                   for 2018 Return

 For the calendar year before that:                Country Insurance                            $21,777.00
 (January 1 to December 31, 2018 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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                                                Case 20-31020-dwh7                      Doc 102          Filed 08/05/20
 Debtor 1      Mark F. Haueter                                                                             Case number (if known)    20-31020



       Creditor's Name and Address                               Dates of payment            Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe

7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Cori L. Haueter v. Mark F. Haueter                        Divorce /                  Malheur County Circuit                      Pending
       19DR20138                                                 Domestic                   Court                                       On appeal
                                                                 Relations                  251 B St W
                                                                                                                                        Concluded
                                                                                            Vale, OR 97918

       Producers Livestock Marketing                             Civil                      Malheur County Circuit                      Pending
       Association v. Mark F Haueter, Cori                                                  Court                                       On appeal
       L Haueter                                                                            251 B St W
                                                                                                                                        Concluded
       19CV23140                                                                            Vale, OR 97918


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                 Amount
                                                                                                                              taken




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 3
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 Debtor 1      Mark F. Haueter                                                                             Case number (if known)    20-31020


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       lds church                                                    tithing                                                  01/1/2019                $6,000.00
       4 th ave
       ontario, OR 97914


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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 Debtor 1      Mark F. Haueter                                                                             Case number (if known)   20-31020


      transferred in the ordinary course of your business or financial affairs?
      Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
      include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or       Date transfer was
       Address                                                       property transferred                       payments received or debts     made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                         Date Transfer was
                                                                                                                                               made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of           Type of account or          Date account was            Last balance
       Address (Number, Street, City, State and ZIP              account number             instrument                  closed, sold,           before closing or
       Code)                                                                                                            moved, or                        transfer
                                                                                                                        transferred
       Bank of the West                                          XXXX-3597                    Checking                  July 2019                      Unknown
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other

       Bank of the West                                          XXXX-4445                    Checking                  July 2019                      Unknown
                                                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                              have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                 Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                      have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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 Debtor 1      Mark F. Haueter                                                                                  Case number (if known)   20-31020


 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                  Status of the
       Case Number                                                   Name                                                                           case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




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 Debtor 1      Mark F. Haueter                                                                             Case number (if known)    20-31020



             No. None of the above applies. Go to Part 12.

             Yes. Check all that apply above and fill in the details below for each business.
        Business Name                                            Describe the nature of the business             Employer Identification number
        Address                                                                                                  Do not include Social Security number or ITIN.
        (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
        Haueter and Sons Livestock                               Cattle                                          EIN:         8367
        325 Grove Rd.
        Ontario, OR 97914                                        LaDora Haueter                                  From-To      01/01/1990, 03/01/2020

        MC Haueter Insurance Agency, Inc.                        Insurance                                       EIN:         XX-XXXXXXX
        2546 SW 4th Ave.
        Ontario, OR 97914                                        None                                            From-To      1994 to 2017


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

        Producers Livestock Marketing                            2018, 2019
        Assoc.
        P.O. Box 540477
        North Salt Lake, UT 84054

        Zions Bank                                               2019 (throughout, until October)
        909 NW 16th Street
        Fruitland, ID 83619

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Mark F. Haueter
 Mark F. Haueter                                                          Signature of Debtor 2
 Signature of Debtor 1

 Date      August 5, 2020                                                 Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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